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        EXHIBIT G
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(12) United States Patent                                                  (10) Patent No.:                US 9.425,752 B2
       Benson                                                              (45) Date of Patent:                     * Aug. 23, 2016
(54) DISTRIBUTEDAMPLIFIER WITH                                                USPC ................................ 330/286,54, 295, 124 R
     IMPROVED STABILIZATION                                                   See application file for complete search history.
(71) Applicant: Hittite Microwave Corporation,                        (56)                    References Cited
               Chelmsford, MA (US)
                                                                                       U.S. PATENT DOCUMENTS
(72) Inventor: Keith Benson, Cambridge, MA (US)
                                                                             5,130,664 A       7, 1992 Pavlic et al.
(73) Assignee: Chelmsford,
               HITTITE MICROWAVE
                           MA (US)
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(*) Notice:         Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                        FOREIGN PATENT DOCUMENTS
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                    This patent is Subject to a terminal dis-         EP                 1276 230 A2      1, 2003
                    claimer.                                                              OTHER PUBLICATIONS
(21) Appl. No.: 14/327.944                                            Taiwan Office Action of Dec. 12, 2014 and English translation
(22) Filed:     Jul. 10, 2014                                         thereof for Taiwan Patent Application No. 101107928, filed on Mar.
                                                                      8, 2012.9 pages.
(65)               Prior Publication Data                                                        (Continued)
       US 2014/O32O211 A1     Oct. 30, 2014
                                                                      Primaryy Examiner — Henry
                                                                                            nry Choe
                Related U.S. Application Data                         (74) Attorney, Agent, or Firm — Knobbe Martens Olson &
(63) Continuation of application No. 13/385,772, filed on             Bear
       Mar. 6, 2012, now Pat. No. 8,786,368.
(60) Provisional application No. 61/464,781, filed on Mar.            (57)                     ABSTRACT
     9, 2011.                                                         A distributed amplifier with improved stabilization includes
                                                                      an input transmission circuit, an output transmission circuit,
(51) Int. Cl.                                                         at least one cascade amplifier coupled between said input and
     HO3F 3/93                  (2006.01)                             output transmission circuits. Each cascade amplifier includes
     HO3F I/08                  (2006.01)                             a common-gate configured transistor coupled to the output
                          (Continued)                                 transmission circuit, and a common-source configured tran
(52) U.S. Cl
         AV e. we                                                     sistor coupled SN th input this N R
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       CPC (2013.01);
           ................ Host 3193 (201301), Hot 1086
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                                                                      coupled in series between a drain and a gate of at least one of
                        cool tg 2200/108 (2013.01);                   the common-gate configured transistors for increasing the
                               Ont1nue                                amplifier stability.
(58) Field of Classification Search
       CPC ................................. H03F 3/605; HO3F 3/607                    23 Claims, 17 Drawing Sheets
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                 FIG. 3B




                                     freq (2.000GHz to 17.00GHz)
                                             FIG. 3C
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                                  FO-23 GHz
                                  OSC tone 1 c 10.5 GHz
                                  OSC tone 2 = 12.5 GHz

                                                              Mk3 23.00 GHz
                                                                 -3.05 dBm



         |     |      |      |       System, Alignments, Align Ai Now, Nedded




                                                                                   Reference


   Stait 5.0 Ga.                                              Stop 30.00 GHz
  i Res BW3OKHz                    WBW 3D KHe          Sweep 33.49 s (601 pts)
   Copyright 2000-2008 Agilent Technologies


                                              FIG. 4
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                        RCG node F increased 50ohns

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        18O    -                   I     - - - - -
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        -80
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                            -
              OE9 2.0E9 3.OE9 4.OE9 5.OE9 6.OE9 7.OE9 8.OE9 9.OE9
                                        RF freq.




                           RCG node increased 50ohms




                                        freq. GHz
                                       FIG. 5B
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                                  FIG. 6A
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                 FIG. 9B




                                    freq (2.000GHz to 17.00GHz)
                                            FIG. 9C
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                                         FIG. IOC
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                                Rfeedback-300ohms
                                     Cfeedbacket 1pF




                O          5           O           15       20   25
                                       fred. GHz
                                    FIG. I2A
                                    Rfeedback-800ohms
                                      Cfeedback=1 pF




                    |          IA
                r^f
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                                        freq. GHz
                                      FIG. I2B
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           DISTRIBUTEDAMPLIFER WITH                                      mance. This capacitor may require a resistor to De-Q the
             IMPROVED STABILIZATION                                      network Such that it won't oscillate. Increasing this resistor
                                                                         value from a nominal value (e.g. 5 ohms) is a common way to
                RELATED APPLICATIONS                                     enhance the stability of the circuit. This method, however,
                                                                         may hurt performance (i.e., provide much less bandwidth),
   This application is a continuation of U.S. patent applica             and it may not help with parametric oscillation stability.
tion Ser. No. 13/385,772, filed on Mar. 6, 2012 (laterissued as             Another prior approach in attempting to stabilize the CG
U.S. Pat. No. 8,786.368, issue date Jul. 22, 2014), which                device of a cascode distributed amplifier is to introduce the
claims the benefit of and priority thereto under 35 U.S.C.               loss seen by the drain in the foul of a shunt resistor-capacitor
                                                                    10
SS 119, 120, 363, 365, and 37 C.F.R. S.1.55 and S1.78, the               (R-C) connected between the drains of the CG devices. This
latter of which claims the benefit of and priority to U.S.               method, however, provides no significant reduction of para
Provisional Application Ser. No. 61/464,781, filed on Mar. 9.            metric oscillation. For example, the CG gate resistance may
2011 under 35 U.S.C. SS 119, 120, 363, 365, and 37 C.F.R.                actually become more negative while further degrading the
S1.55 and S1.78, and both applications are incorporated                  gain of the amplifier.
herein by reference.                                                15

                                                                                 BRIEF SUMMARY OF THE INVENTION
               FIELD OF THE INVENTION

  This invention relates to an improved distributed amplifier.              It is therefore an object of this invention to provide a
                                                                         distributed amplifier in which parametric oscillations are
          BACKGROUND OF THE INVENTION                                    reduced or eliminated.
                                                                            It is a further object of this invention to provide such a
   A traditional distributed amplifier is a topology well known          distributed amplifier in which the gain is not significantly
in industry as a proven way to build a wideband amplifier.               degraded.
Typical bandwidths of distributed amplifiers on a GaAs sub          25      It is a further object of this invention to provide such a
strate could be on the order of the kHz to millimeter wave               distributed amplifier in which the bandwidth is not signifi
frequencies. A cascode distributed amplifier is widely recog             cantly reduced.
nized as a way to improve gain and bandwidth over a non                     The subject invention results from the realization that para
cascode distributed amplifier.                                           metric oscillations in a distributed amplifier can be reduced or
   The benefit of a distributed amplifier is accomplished by        30
                                                                         eliminated, in one embodiment, by a feedback network
incorporating the parasitic effects of the transistor into the           including a non-parasitic resistance and capacitance coupled
matching networks between devices. The input and output                  in series between a drain and a gate of at least one of the
capacitances of the device can be combined with the gate and             amplifiers common-gate configured transistors.
drain line inductance, respectively, to make the transmission               The subject invention, however, in other embodiments,
lines virtually transparent, excluding transmission line loss.      35
                                                                         need not achieve all these objectives and the claims hereof
By doing this, the gain of the amplifier may only be limited by
the transconductance of the device and not the parasitics                should not be limited to structures or methods capable of
associated with the device. This only happens if the signal              achieving these objectives.
traveling down the gate line is in phase with the signal trav               In one embodiment, the distributed amplifier with
eling down the drain line, so that each transistors output          40   improved stabilization includes an input transmission circuit;
Voltage adds in phase with the previous transistors output.              an output transmission circuit; at least one cascode amplifier
The signal traveling to the output will constructively interfere         coupled between the input and output transmission circuits,
so that the signal grows along the drain line. Any reverse               each cascode amplifier including a common-gate configured
waves will destructively interfere since these signals will not          transistor coupled to the output transmission circuit, and a
be in phase. The gate line termination is included to absorb        45   common-source configured transistor coupled between the
any signals that are not coupled to the gates of the transistors.        input transmission circuit and the common-gate configured
The drain line termination is included to absorb any reverse             transistor, and a feedback network including a non-parasitic
traveling waves that could destructively interfere with the              resistance and capacitance coupled in series between a drain
output signal.                                                           and a gate of at least one of the common-gate configured
   Stability of amplifiers is essential to keep a predetermined     50   transistors for increasing the amplifier stability.
state of the circuit. A wide variety of problems arise if the               In a preferred embodiment, the drains of each of the com
amplifier is shown to oscillate or have the potential to oscil           mon-gate transistors may be coupled together and the gates of
late. Problems due to oscillation can range from fluctuations            each of the common-source configured transistors may be
in bias conditions to circuit self-destruction, etc.                     coupled together. Each cascode amplifier may further include
   Parametric oscillation is a type of oscillation that typically   55   one or more additional common-gate transistors DC-coupled
only occurs when certain RF power levels are applied to an               between each of the common-gate configured transistors and
amplifier, i.e., under quiescent or Small conditions the ampli           common-source configured transistors. The resistance and
fier appears stable.                                                     the capacitance of each feedback network may include a
   Prior stabilizing methods have not been beneficial in pre             resistor and a capacitor coupled in series across the gate and
venting parametric oscillations. For example, in a cascode          60   drain terminals of at least one of the one or more additional
distributed amplifier, there is a capacitor on the gate of the           common-gate configured transistors. Each of the common
common-gate (CG) device that acts to negate the Miller                   gate configured transistors may include a non-parasitic resis
Capacitance which a purely common-source (CS) amplifier                  tance and capacitance coupled between its corresponding
contains. It negates the Miller capacitance by theoretically             drain and gate. There may be only one cascade amplifier
creating an RF short at the gate node of the CU device. In          65   coupled between the input and output transmission circuits.
many cases, this capacitor is reduced to Smaller values (~0.5            Each resistor may have a value of approximately 800 ohms
pF) to tune the cascode circuit for improved power perfor                and each capacitor may have a value of approximately 1 pF.
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Each resistor may have a value in a range of between 20 ohms              FIG. 11 is a plot showing simulated CG node gate imped
to 10K ohms. Each capacitor may have a value in a range of              ance and S-parameters with and without a feedback network
between 0.1 pF to 10 pF.                                                for a DC-6 GHz distributed amplifier;
   In another embodiment, the distributed amplifier with                  FIGS. 12A-B are plots showing simulated S-Parameters
improved stabilization may include an input transmission           5    with and without a feedback network on CG transistor of a
circuit; an output transmission circuit; at least two cascode           DC-6 GHz distributed amplifier; and
amplifiers coupled between the input and output transmission              FIG. 13 is a plot showing simulated power with and with
circuits, each cascode amplifier including a common-gate                out a feedback network on CG transistor of a DC-6 GHz
transistor coupled to the output transmission circuit, and a            distributed amplifier.
common-source transistor coupled between the input trans           10
mission circuit and the common-gate transistor, and a feed                         DESCRIPTION OF THE INVENTION
back network including a resistor and capacitor coupled
between a drain and a gate of at least one of the common-gate             Aside from the preferred embodiment or embodiments
transistors for increasing the stabilization of at least one com        disclosed below, this invention is capable of other embodi
mon-gate transistor.                                               15   ments and of being practiced or being carried out in various
   In a preferred embodiment, each cascode amplifier may                ways. Thus, it is to be understood that the invention is not
further include a second common-gate transistor coupled                 limited in its application to the details of construction and the
between the common-gate and common-source transistors.                  arrangements of components set forth in the following
Each of the common-gate transistors may include a resistor              description or illustrated in the drawings. If only one embodi
and capacitor coupled between its corresponding drain and               ment is described herein, the claims hereof are not to be
gate. There may be between and including four and ten cas               limited to that embodiment. Moreover, the claims hereofare
cade amplifiers coupled between the input and output trans              not to be read restrictively unless there is clear and convincing
mission circuits. Each resistor may have a value of approxi             evidence manifesting a certain exclusion, restriction, or dis
mately 800 ohms and each capacitor may have a value of                  claimer.
approximately 1 pF. Each resistor may have a value in the          25      Traditional distributed amplifiers are shown in FIGS. 1 and
range of between 20 ohms to 10K ohms. Each capacitor may                2. A typical distributed amplifier 10, FIG. 2, includes an input
have a value in the range of between 0.1 pF to 10 pF.                   transmission circuit 12 and an output transmission circuit 14.
                                                                        One or more cascode amplifiers 16a . . . 16.n are coupled
          BRIEF DESCRIPTION OF THE SEVERAL                              between input transmission circuit 12 and output transmis
               VIEWS OF THE DRAWINGS                               30   sion circuit 14. Each cascode amplifier 16a-16n typically
                                                                        includes a common-source (CS) transistor 18 coupled to a
   Other objects, features and advantages will occur to those           common-gate (CG) transistor 20 to improve gain and band
skilled in the art from the following description of a preferred        width by reducing the Miller Capacitance (a capacitance con
embodiment and the accompanying drawings, in which:                     nected across two nodes that have inverting Voltage gain) of a
   FIG. 1 is a circuit diagram of a prior art distributed ampli    35   CS amplifier.
fier;                                                                      As described above, the stability of amplifiers is essential
   FIG. 2 is a circuit diagram of another prior art distributed         to keep a predetermined state of the circuit. A wide variety of
amplifier,                                                              problems arise if the amplifier is shown to oscillate or have the
   FIGS. 3A-C are a circuit diagram of the common-gate                  potential to oscillate. Problems due to oscillation can range
transistor of the distributed amplifier of FIG. 1 and Smith        40   from fluctuations in bias conditions to circuit self-destruc
Charts showing the input and output reflection coefficients,            tion, etc. Cascode distributed amplifiers are shown to be
respectively;                                                           prone to oscillations due to the output impedance of the
   FIG. 4 is a plot showing typical parametric oscillation of a         common-gate being negative under normal conditions as
distributed amplifier;                                                  shown in FIGS. 3A-C. That is, a typical GaAs transistor when
   FIGS.5A-B are plots showing simulated S-Parameters and          45   connected in a common-gate configuration (gate node
CG node gate resistance, respectively, with and without an              coupled to ground) can show a positive reflection coefficient
additional stability resistor in series with gate on the CG             at certain frequencies as shown in the Smith Chart of FIG.3C.
transistor of a DC-6 GHz distributed amplifier;                         A positive reflection is a potential problem as it has the ability
   FIGS. 6A-B are plots showing simulated S-Parameters and              to help grow and Sustain an oscillation.
CG node gate resistance, respectively, with and without a          50      Parametric oscillations are typically oscillations that only
shunt R-C in between drains of CG devices of a DC-6 GHz                 occur when RF power is applied to the amplifier, i.e. under
distributed amplifier;                                                  DC conditions, the amplifier appears stable.
   FIG. 7 is a circuit diagram of a distributed amplifier in               Parametric oscillations typically occur at half of the fun
accordance with one embodiment of the Subject invention;                damental frequency of operation. The oscillation can also be
   FIG. 8A is a circuit diagram of the distributed amplifier of    55   shown to split into two oscillations occurring at 2 different
FIG. 7 in which the distributed amplifier includes three                frequencies with the same relative delta in frequency from
Stages;                                                                 half of the fundamental frequency e.g. if fo=16 GHz, then
   FIG. 8B is a circuit diagram of another embodiment of the            fo/2=8 GHz (oscillations could occur at 7 and 9 GHz). An
distributed amplifier of FIG. 7 in which the distributed ampli          example measurement of a parametric oscillation is shown in
fier is triple stacked;                                            60   FIG. 4. The oscillation occurs only under drive due to the
   FIGS. 9A-C are a circuit diagram of the common-gate                  transistor device parameters changing under applied RF
transistor of the distributed amplifier of FIG. 7 and Smith             power. For example capacitances (such as the gate to Source
Charts showing the input and output reflection coefficients,            capacitance Cgs) will most likely increase as drive level
respectively with and without a feedback network;                       increases towards power compression. This can also be seen
   FIGS. 10A-C area circuit diagram of the cascade amplifier       65   by the transistor drain current increasing under drive. Since
of the distributed amplifier of FIG. 7 and Smith Charts show            the current is changing, it is reasonable to believe the device
ing the input and output reflection coefficients, respectively;         characteristics are changing.
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   As described above, prior stabilizing methods have not               approximately 800 ohms and each capacitor 126a. . . 126n
been beneficial in preventing parametric oscillations. For              may have a value of approximately 1 pF.
example, in a cascode distributed amplifier, there is a capaci             Each CG configured transistor 118a includes a common
tor on the gate of the common-gate (CG) device that acts to             gate transistor, and each CS configured transistor 120a
negate the Miller Capacitance which a purely common                     includes a common-source transistor. The distributed ampli
Source (CS) amplifier contains. It negates the Miller capaci            fier 100a, FIG. 8A, may include three stages 116a'-116c', or
tance by theoretically creating an RF short at the gate node of         slices, of cascode amplifiers in which one or more of CG
                                                                        configured transistors 118a', 118b', and/or 118c' includes a
the CG device. In many cases, this capacitor is reduced to              feedback network 122a", 122b', and/or 122c' coupled across
smaller values (-0.5 pF) to tune the cascode circuit for           10
                                                                        the corresponding drain and gate of each corresponding CG
improved power performance. This capacitor may require a                transistor. The number of cascode amplifiers 116a ... 116n
resistor to De-Q the network such that it won't oscillate.              coupled between the input and output transmission circuits
Increasing this resistor value from a nominal value (e.g. 5             112 and 114 is typically between and including four and ten,
ohms) is a common way to enhance the stability of the circuit.          although more or less cascode amplifiers may be used. For
This method, however, may hurt performance (i.e., provide          15
                                                                        example, eleven or twelve cascode amplifiers may be coupled
much less bandwidth), and as can be seen in FIGS. 5A-B, it              between input and output transmission circuits 112 and 114
does not help with parametric oscillation stability.                    depending on the application.
   Another prior approach in attempting to stabilize the CG                The distributed amplifier 100b, FIG.8B, may also include,
                                                                        for example, a triple stack distributed amplifier in which each
device of a cascode distributed amplifier is to introduce the           cascode amplifier 116a" . . . 116n" each includes two com
loss seen by the drain in the form of a shunt resistor-capacitor        mon-gate transistors and a common-source transistor. Higher
(R-C) connected between the drains of the CG devices. This              levels of Stacking with more common-gate transistors
method, however, provides no significant reduction of para              coupled in series may also be used. To enhance stability,
metric oscillation. It can be seen from FIGS. 6A-B that the             feedback networks 122a" . . . 122n" and 122a ". . . 122n'
CG gate resistance actually becomes more negative while                 similar to the ones described above may be connected
further degrading the gain of the amplifier.                       25   between the drain and gate electrodes of one or more of the
   In narrowband amplifiers, it can be shown that parametric            common-gate transistors.
oscillations can be reduced or eliminated by introducing loss             In FIG. 9A, some nominal values have been included for
selectively at frequencies lower then the band of operation             feedback network 122d and other components (used to isolate
without significantly degrading amplifier performance. This             Miller Capacitance in cascade and tune for RF Power, output
works because the parametric oscillation typically occurs at       30   return loss, etc.) that a CG transistor would have in its com
half the fundamental frequency of operation. The loss can be            mon configuration of a cascade distributed amplifier. For
introduced selectively by including a high pass filter in series        example, feedback network 122d includes a 800 ohm resistor
                                                                        124d and a 1.0 pF capacitor 126d. It can be seen in FIGS.
with the amplifier, with a cutoff frequency below the band of           9B-C when looking at the CG transistor with the R-C feed
interest such that in the band of interest the loss is minimal.         back network (dashed line) added that the gate reflection
Another method for narrowband circuits is to introduce a           35   coefficient has been improved significantly (less unstable) in
Subharmonic trap, i.e. an inductor-capacitor resonant circuit           comparison to an unstabilized transistor shown by the Solid
which is designed to only introduce loss at the Subharmonic             line.
frequency.                                                                 Incorporating the CG device of FIG. 9A into the cascode
   Wideband circuits such as a distributed amplifier are more           configuration which is typical in a Cascode Distributed
difficult to stabilize, however, because introducing loss will     40   amplifier is shown in FIG. 10A. Again, nominal values of 800
possibly degrade the entire frequency response in terms of              ohms for resistor 124e and 1 pF for capacitor 126e are used
gain and power. It is preferable to find away to introduce loss         for the feedback network 122e on the gate. It can be seen from
in the amplifier to reduce the parametric oscillation without           the Smith Chart in FIG. 10C which is the impedance looking
significantly degrading the amplifier performance.                      into the gate of the CG device that the resistance is negative
   In accordance with one aspect of the invention a distributed    45   without the R-C stability (solid line) and is brought less
amplifier 100, FIG. 7, includes an input transmission circuit           negative with a feedback network including 800 ohms of a
112 and an output transmission circuit 114. At least one                stability resistance (dashed line).
cascode amplifier 116a ... 116n is coupled between input and               To further improve the stability of the circuit, the size of the
output transmission circuits 112 and 114. Cascode amplifier             feedback resistor may be reduced to 500 or 600 ohms. To be
116a, for example, includes a common-gate (CG) configured          50   able to kill a parametric oscillation in an amplifier without
transistor 118a coupled to output transmission circuit 114,             degrading the overall performance, the impedance is prefer
and a common-source (CS) configured transistor 120a                     ably seen at every node of the circuit at Small signal condi
coupled between input transmission circuit 112 and CG con               tions and under applied RF power. Often, the resistance of a
figured transistor 118a. A feedback network 122a, which may             node will change between Small signal conditions and under
include a selectively chosen, non-parasitic resistance and         55   applied RF power. It is preferable to satisfy small signal
capacitance such as a resistor 124a and a capacitor 126a, is            stability in additional to large signal stability for an amplifier
coupled across a drain 128a and a gate 130a of at least one of          to be considered stable. The conditions for oscillation are a
the CG configured transistors for increasing the stabilization          negative resistance, which in turn will create a positive reflec
of the at least one transistor. Only some of transistors                tion coefficient, as well as a 0 or 360 degree loop phase shift.
118a . . . 118n may include a similar feedback network             60   A positive reflection coefficient has the ability to create a loop
122a ... n, or all of transistors 118a ... 118n may include a           gain of 1 and combined with a phase shift of 0 or 360 degrees
similar feedback network 122a ... n as shown in FIGS. 7, 8A,            around that loop will likely create an oscillation.
and 8B.                                                                   In FIG. 11, a simulation is shown of the CG transistors
   Each resistor 124a ... 124n may have a value in a range of           gate node resistance in a DC-6 GHz distributed amplifier with
between 20 ohms to 10Kohms. Each capacitor 126a... 126n            65   (dashed line) and without (solid line), a feedback network on
may have a value in a range of between 0.1 pF to 10 pF. More            the CG transistor from drain to gate. Specifically, this plot
preferably, each resistor 124a . . . 124n may have a value of           shows the real part of the complex impedance that is the
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                                7                                                                       8
Summation of the impedances looking to the left and right of              applicant cannot be expected to describe certain insubstantial
the probe at that node. The x-axis of the FIG. 11 plot is                 Substitutes for any claim element amended.
actually the fundamental frequency but the trace is the resis               Other embodiments will occur to those skilled in theart and
tance at half of the fundamental frequency, or Subharmonic                are within the following claims.
frequency. Here the feedback network resistor value is 800
ohms and the Capacitor value is 1 pF. In this example, the                  What is claimed is:
purpose of the capacitor is mainly to block DC current from                 1. A distributed amplifier comprising:
drain to gate. It can be seen from FIG. 11 that at 3 GHz                    an input transmission line;
without the feedback network, the gate resistance is on the                 an output transmission line; and
order of 0 ohms (solid line), which is dangerously close to          10     a plurality of cascode amplifiers each coupled between the
being negative and at Some frequencies does turn negative.                     input transmission line and the output transmission line,
                                                                               wherein a first cascode amplifier of the plurality of cas
However, with the feedback network added (dashed line), the                    code amplifiers comprises:
resistance is greater then 200 ohms with very little degrada                   three or more field effect transistors (FETs) arranged in
tion in S21 or return loss as seen in FIGS. 12A-B. At the upper      15           a stack, wherein the three or more FETs comprises a
edge of the band, the gate resistance is coming towards 20                           first FET, a second FET, and a third FET, wherein the
ohms even with the feedback network. This can be further                             first FET includes a gate coupled to the input trans
improved by reducing the feedback resistor or perhaps using                          mission line, wherein the second FET is positioned
the feedback network in conjunction with another stabilizing                         between the first FET and the third FET in the stack,
method, such as a Small series resistance on the gate itself.                       and wherein the third FET includes a drain coupled to
However, at the band edge of 6 GHz, without adding an                               the output transmission line; and
additional stabilizing method, the real part of the resistance is                a first stabilization circuit coupled to the drain of the
greater then 20 ohms, a fairly safe operating margin. It is                          third FET,
apparent that a huge benefit has been made in the stability of                   wherein the first FET is configured to generate an ampli
the circuit without a severe degradation in gain or return loss      25            fied signal by amplifying an input signal received at
(see FIGS. 12A and 12B). It is also shown that in FIG. 13 there                    the gate of the first FET from the input transmission
is little degradation in power due to this stabilizing network.                    line, wherein the first FET is further configured to
   The subject invention can stabilize a cascode distributed                       provide the amplified signal to the output transmis
amplifier in terms of a parametric oscillation without signifi                     sion line through the second FET, from a source of the
cantly degrading amplifier performance. In addition, this will       30            second FET to a drain of the second FET, and through
help Small signal stability. This technique could be applied to                      the third FET, from a source of the third FET to the
any Common-Gate transistor used in a distributed amplifier                           drain of the third FET.
topology. That is, there could be a cascade of two CG tran                   2. The distributed amplifier of claim 1, wherein the first
sistors, or a triple stack distributed amplifier, as shown in FIG.        stabilization circuit comprises a first resistor and a first
8B. Additionally, this stabilization could apply to single cas       35   capacitor electrically connected in series.
code amplifier, as opposed to string of cascode amplifiers in a              3. The distributed amplifier of claim 2, wherein the first
distributed amplifier.                                                    resistor and the first capacitor are electrically connected in
  Thus, it is to be understood that the invention is not limited          series between the drain of the third FET and a gate of the
in its application to the details of construction and the                 third FET.
arrangements of components set forth in the preceding                40      4. The distributed amplifier of claim 1, further comprising
description or illustrated in the drawings. If only one embodi            a second stabilization circuit coupled to a drain of the second
ment is described herein, the subject invention is not to be              FET.
limited to that embodiment. For example, bipolar (BJT) tran                  5. The distributed amplifier of claim 4, wherein the first
sistors could be used instead of FETs with base, collector, and           stabilization circuit comprises a first resistor and a first
emitter electrode designations. Moreover, scope of the sub           45   capacitor electrically connected in series between the drain of
ject invention is not to be read restrictively unless there is            the third FET and a gate of the third FET, and wherein the
clear and convincing evidence manifesting a certain exclu                 second stabilization circuit comprises a second resistor and a
Sion, restriction, or disclaimer.                                         second capacitor electrically connected in series between the
   Although specific features of the invention are shown in               drain of the second FET and a gate of the second FET.
Some drawings and not in others, this is for convenience only        50      6. The distributed amplifier of claim 1, further comprising
as each feature may be combined with any or all of the other              a first gate resistor and a first gate capacitor electrically con
features inaccordance with the invention. The words “includ               nected in series between a gate of the third FET and a ground
ing”, “comprising”, “having”, “coupled, and “with as used                 node.
herein are to be interpreted broadly and comprehensively and                 7. The distributed amplifier of claim 6, further comprising
are not limited to any physical interconnection. Moreover,           55   a second gate resistor and a second gate capacitor electrically
any embodiments disclosed in the Subject application are not              connected in series between a gate of the second FET and the
to be taken as the only possible embodiments.                             ground node.
   In addition, any amendment presented during the prosecu                   8. The distributed amplifier of claim 1, further comprising
tion of the patent application for this patent is not a disclaimer        a gate line termination coupled to the input transmission line
of any claim element presented in the application as filed:          60   and a drain line termination coupled to the output transmis
those skilled in the art cannot reasonably be expected to draft           sion line.
a claim that would literally encompass all possible equiva                   9. The distributed amplifier of claim 1, wherein the first
lents, many equivalents will be unforeseeable at the time of              stabilization circuit is configured to inhibit parametric oscil
the amendment and are beyond a fair interpretation of what is             lations.
to be Surrendered (if anything), the rationale underlying the        65      10. The distributed amplifier of claim 1, wherein the plu
amendment may bear no more than a tangential relation to                  rality of cascode amplifiers comprises between four and ten
many equivalents, and/or there are many other reasons the                 cascode amplifiers.
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                                                                                                    10
  11. A distributed amplifier comprising:                                      first FET includes a gate coupled to the input trans
  an input transmission line;                                                  mission line, wherein the second FET is positioned
  an output transmission line; and                                             between the first FET and the third FET in the stack,
  a plurality of cascode amplifiers each coupled between the                    and wherein the third FET includes a drain coupled to
     input transmission line and the output transmission line,                  the output transmission line; and
     wherein a first cascode amplifier of the plurality of cas               a first stabilization circuit coupled to a gate of the third
     code amplifiers comprises:                                                 FET, wherein the first stabilization circuit comprises a
     three or more field effect transistors (FETs) arranged in                  first resistor and a first capacitor electrically con
        a stack, wherein the three or more FETs comprises a                    nected in series,
       first FET, a second FET, and a third FET, wherein the       10
                                                                             wherein the first FET is configured to generate an ampli
       first FET includes a gate coupled to the input trans                    fied signal by amplifying an input signal received at
       mission line, wherein the second FET is positioned                      the gate of the first FET from the input transmission
       between the first FET and the third FET in the stack,                   line, wherein the first FET is further configured to
        and wherein the third FET includes a drain coupled to                  provide the amplified signal to the output transmis
        the output transmission line; and                          15
                                                                               sion line through the second FET, from a source of the
     a first stabilization circuit coupled to a drain of the sec               second FET to a drain of the second FET, and through
       ond FET,                                                                the third FET, from a source of the third FET to the
     wherein the first FET is configured to generate an ampli                  drain of the third FET.
       fied signal by amplifying an input signal received at
       the gate of the first FET from the input transmission               16. The distributed amplifier of claim 15, wherein the first
       line, wherein the first FET is further configured to             resistor and the first capacitor are electrically connected in
       provide the amplified signal to the output transmis              series between the gate of the third FET and a ground node.
       sion line through the second FET, from a source of the              17. The distributed amplifier of claim 15, further compris
       second FET to the drain of the second FET, and                   ing a second stabilization circuit coupled to a gate of the
       through the third FET, from a source of the third FET       25   Second FET.
       to the drain of the third FET.                                      18. The distributed amplifier of claim 17, wherein the sec
   12. The distributed amplifier of claim 11, wherein the first         ond stabilization circuit comprises a second resistor and a
stabilization circuit comprises a first resistor and a first            second capacitor electrically connected in series.
capacitor electrically connected in series.                                19. The distributed amplifier of claim 15, wherein the first
   13. The distributed amplifier of claim 12, wherein the first    30
                                                                        resistor has a resistance value in the range of between 20
resistor and the first capacitor are electrically connected in          ohms to 10 Kohms.
series between the drain of the second FET and a gate of the
Second FET.                                                                20. The distributed amplifier of claim 15, further compris
   14. The distributed amplifier of claim 11, further compris           ing a gate line termination coupled to the input transmission
ing a gate line termination coupled to the input transmission      35   line and a drain line termination coupled to the output trans
line and a drain line termination coupled to the output trans           mission line.
mission line.                                                             21. The distributed amplifier of claim 1, wherein the three
  15. A distributed amplifier comprising:                               or more FETs are electrically connected in series with one
  an input transmission line;                                           another.
  an output transmission line; and                                 40
                                                                          22. The distributed amplifier of claim 11, wherein the three
  a plurality of cascode amplifiers each coupled between the            or more FETs are electrically connected in series with one
     input transmission line and the output transmission line,          another.
     wherein a first cascode amplifier of the plurality of cas
     code amplifiers comprises:                                           23. The distributed amplifier of claim 15, wherein the three
     three or more field effect transistors (FETs) arranged in     45   or more FETs are electrically connected in series with one
                                                                        another.
        a stack, wherein the three or more FETs comprises a
       first FET, a second FET, and a third FET, wherein the
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,425,752 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 14/327.944
DATED                       : August 23, 2016
INVENTOR(S)                 : Keith Benson

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         TITLE PAGE
         Page 1 (item 57, Abstract) at line 4, Change “cascade to --cascode--.
         Page 1 (item 57, Abstract) at line 5, Change “cascade to --cascode--.
         IN THE SPECIFICATION
         In column 1 at line 65, Change “CU to --CG--.
         In column 2 at line 9 (approx.), Change “foul to --form--.
         In column 2 at line 64, Change “cascade to -cascode--.
         In column 3 at lines 21-22, Change “cascade to -cascode--.
         In column 3 at line 65, Change “cascade to -cascode--.
         In column 6 at line 28 (approx.), Change “cascade to --cascode--.
         In column 6 at line 31 (approx.), Change “cascade to --cascode--.




                                                                                  Signed and Sealed this
                                                                           Twenty-ninth Day of November, 2016
                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                               Director of the United States Patent and Trademark Office
